       Case 1:24-cv-06563-LJL         Document 165         Filed 12/24/24     Page 1 of 3




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December 24, 2024

Hon. Lewis J. Liman
United States District Court, Southern District of New York
500 Pearl Street
New York, New York 10007

Re: Freeman, et.al. v. Giuliani, Case No. 24-cv-6563 and 24-mc-353

Dear Judge Liman:

       Pursuant to Your Honor’s Order, please find exhibits that Defendant wishes the Court to
consider in connection with the Order to Show Cause to hold Defendant in contempt and for
sanctions. The following anticipated testimony will be relied upon by defendant at the January 3,
2025, hearing.

        Attached as Exhibits 1 through 22 (Bates Stamped Defendant’s anticipated exhibits 1 to
457) are anticipated to be used for consideration for the Court on January 3, 2025. In addition,
Defendant anticipates using any documents that Plaintiff’s submit to the Court for use by Plaintiff
at the January 3, 2025 hearing.

        Defendant Rudolph W. Giuliani will testify. Mr. Giuliani is anticipated to testify that he
did not knowingly and/or intentionally and/or willingly violate or disobey any of the Court orders
which are the subject of the anticipated January 3, 2025 hearing; that the imposition of sanctions
and/or holding Defendant in contempt is not necessary to coerce Defendant into compliance, or to
compensate the Plaintiffs for any losses suffered as a result of the lack of compliance." 1199 SEIU
United Healthcare Workers E. v. Alaris Health at Hamilton Park, supra.

       Mr. Giuliani is anticipated to testify that he did not clearly and unambiguously fail to
comply with any Court Orders which are the subject of the anticipated January 3, 2025 hearing
and that Mr. Giuliani made diligent attempts to comply with the Court’s Orders in a reasonable
manner and fully complied or substantially complied with this Court’s Orders.

        Mr. Giuliani is anticipated to testify regarding his execution of documents requested by
Plaintiffs to convey ownership of the shares evidencing Defendant’s interest in 45 East 66th Street
Owners Corp.

       Mr. Giuliani is anticipated to testify regarding his directing Citibank, N.A. to transfer
nonexempt cash in the checking accounts held at Citibank, N.A. with account numbers ending in
-1428 and -5812 to Plaintiffs.



                                                 1
       Case 1:24-cv-06563-LJL           Document 165         Filed 12/24/24      Page 2 of 3




       Mr. Giuliani is anticipated to testify regarding his turning over the Mercedez-Benz
automobile to Plaintiffs and the delivery of the automobile by Defendant to Plaintiff’s
representative in Miami, Florida.

       Mr. Giuliani is anticipated to testify about all of the items that were delivered to Plaintiffs’
designated storage facility in Queens, New York, which items included court ordered Receivership
Property including various items of furniture, a television, sports memorabilia totaling
approximately forty two (42) items, which is more than what the Court order specifically required.

       Mr. Giuliani is anticipated to testify that he had the following items delivered to Plaintiff’s
storage facility:
       a. book cabinet,
       b. three living room end tables,
       c. living room leather sofa bed,
       d. storage bed drawer,
       e. leather office chair,
       f. living room coffee table,
       g. folding upholstered chairs,
       h. two red leather overstuffed chairs,
       i. drop leaf table,
       j. rolled mattress,
       k. seat cushions,
       l. cushioned ottoman,
       m. lamp shades,
       n. lamp and pillows,
       o. master bedroom slats and hardware,
       p. master bed siderails,
       q. sofa bed legs,
       r. nightstand,
       s. master bed footboard,
       t. master bed mirror,
       u. Storage bed siderails,
       v. Master bed headboard,
       w. Master Bed Dresser,
       x. Television,
       y. Yankee Banner,
       z. Mickey Mantle Picture,
       aa. John Daly art,
       bb. Derek Jeter picture
       cc. Diamond ring,
       dd. Watches
       ee. PLUS, there was a significant amount of furniture contained in the New York
           cooperative apartment, which was also turned over to the Plaintiffs.




                                                  2
       Case 1:24-cv-06563-LJL          Document 165         Filed 12/24/24      Page 3 of 3




      Mr. Giuliani is anticipated to testify that he furnished the following responses to Plaintiffs’
demands:

       a. Defendants’ Amended Response to Plaintiffs’ First Set of Interrogatories;
       b. Defendants’ Response to Plaintiffs’ First Set of Interrogatories;
       c. Defendants’ Second Amended Response to Plaintiffs’ First Set of Interrogatories;
       d. Defendants’ Response to Plaintiffs’ First Set of Document Requests;
       e. Defendants’ Amended Initial Disclosures Pursuant to Federal Rules of Civil Procedure
          Rule 26(a)(1);
       f. Defendants’ Second Amended Initial Disclosures Pursuant to Federal Rules of Civil
          Procedure Rule 26(a)(1); and
       g. Defendant’s provision of storage facility photos.


       Defendant reserves the right to call Kenneth Caruso, Esq. to testify as a rebuttal witness.


                                                      Respectfully submitted,


                                                      Joseph M. Cammarata




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